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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
_________________________________
                                  :
JOHN BRYANT,                      :
                                  :
                      Plaintiff,  :  CIVIL ACTION
                                  :
               v.                 :  No. 20-____________
                                  :
UNITED STATES OF AMERICA,         :
                                  :
                                  :
                      Defendant.  :
_________________________________ :

                                  COMPLAINT

                       I. PRELIMINARY STATEMENT

      1.     Plaintiff John Bryant brings this lawsuit against Defendant United

States of America under the Federal Tort Claims Act in relation to the misconduct

of Federal Bureau of Prisons (“BOP”) employees at the Federal Correctional

Institution at Allenwood who failed to protect him from a violent assault by other

prisoners despite open and obvious reasons to believe that Mr. Bryant would be

targeted by other prisoners.

      2.     As a result of their actions and inactions, Mr. Bryant suffered serious

physical and emotional trauma, some or all of which may be permanent. In this

suit, Mr. Bryant seeks compensation for his substantial harms and losses.
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                       II. JURISDICTION AND VENUE

      3.    This Court has jurisdiction over the subject matter of this Complaint

under 28 U.S.C. §§ 1331, 1346(b).

      4.    On or about July 10, 2019, Mr. Bryant submitted a timely

Administrative Tort Claim to the BOP. In correspondence dated January 10, 2020,

the BOP denied the claim. Mr. Bryant has, therefore, exhausted administrative

remedies.

      5.    Venue is proper in this District under 28 U.S.C. § 1402(b) as the acts

and omissions that are the subject of this Complaint occurred within the Middle

District of Pennsylvania.

                                  III. PARTIES

      6.    Plaintiff John Bryant, aged 57, was at all times relevant to this

Complaint incarcerated in BOP facilities, including FCI Allenwood

(“Allenwood”). He is no longer incarcerated and presently resides in Richmond,

Virginia.

      7.    Defendant United States of America is the appropriate defendant

under the Federal Tort Claims Act.

      8.    At all times relevant to this Complaint, all BOP personnel mentioned

below, including Counselor D. Betzer, Correctional Officer Messersmith, and

Correctional Officer Kohn, as well as other unnamed personnel, were employees of



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BOP and Defendant United States of America and were acting within the scope

and course of their employment.

                                     IV. FACTS

       9.     Beginning in February 2011, Mr. Bryant was incarcerated in the BOP

due to a conviction in the U.S. District Court for the Eastern District of Virginia.

       10.    In March 2017, Mr. Bryant was transferred to Allenwood.

       11.    On arrival, Mr. Bryant, who was 54 years old at the time, was placed

in a six-man cell with five younger prisoners.

       12.    Mr. Bryant’s cellmates smoked a synthetic marijuana known as “K-2”

nearly every night.

       13.    In 2016, Mr. Bryant had been diagnosed with atrial fibrillation, a

condition that was aggravated by secondhand smoke and which, therefore, made

Mr. Bryant particularly sensitive to his cellmates’ habit.

       14.    Mr. Bryant warned his cellmates that he would not lie to prison staff

on their behalf if staff inquired about or discovered contraband in the cell.

       15.    Mr. Bryant’s cellmates began threatening and harassing him. The

threats stemmed in large part from Mr. Bryant’s warning that he would not

cooperate with his cellmates’ illegal activity.

       16.    The threats assumed a violent and sexual nature and made Mr. Bryant

fear for his safety.



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      17.    Beginning in mid-June, 2017, Mr. Bryant had repeated conversations

with his counselor, Counselor D. Betzer, concerning his cellmates’ repeated and

credible threats to his safety.

      18.    Mr. Bryant requested that Betzer move him to a different cell, but

Betzer denied the request.

      19.    Betzer explained that there was no available spot within the unit

where Bryant could be moved.

      20.    Mr. Bryant requested to move to a different unit, but Counselor Betzer

once again denied his request.

      21.    In the month following Mr. Bryant’s multiple requests to be moved

out of his cell, the threats grew in severity and impunity.

      22.    In July of 2017, a man with the last name Smith, one of Mr. Bryant’s

cellmates, complained to Betzer that she should remove Mr. Bryant from the cell.

      23.    Smith aggressively argued with Betzer, and, during the course of that

argument, threatened that he would physically and sexually assault Mr. Bryant if

she refused to move Mr. Bryant to a different cell.

      24.    Smith left the office and returned shortly thereafter with a water bottle

full of urine. He poured the urine under Betzer’s door.

      25.    When Betzer returned to her office, she discovered the urine and

placed the unit on lockdown.



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      26.    Surveillance footage showed Smith pouring the urine under Betzer’s

door, and Smith was placed in the Special Housing Unit.

      27.    During the next several months, Mr. Bryant’s cellmates continued to

threaten him with violence.

      28.    Mr. Bryant, likewise, continued to inform Counselor Betzer of the

threats and of the danger he believed his cellmates presented to his safety.

      29.    On September 21, 2017, around 7:20 p.m., Correctional Officer Kohn

approached Mr. Bryant outside of the unit and informed him that his cell smelled

of smoke.

      30.    Later that night, Officer Kohn asked for Mr. Bryant’s cooperation in

her investigation into contraband K-2 in Mr. Bryant’s cell.

      31.    Mr. Bryant agreed to cooperate, and he did so.

      32.    As a result of Mr. Bryant’s actions, officers caught three of Mr.

Bryant’s cellmates smoking.

      33.    The officers took the cellmates to the Special Housing Unit to await

disciplinary charges.

      34.    Between September 21 and September 27, 2017, the cellmates who

were not taken to the Special Housing Unit continued to threaten Mr. Bryant.

      35.    The threats increased in frequency and in specificity about the

violence they would use to harm Mr. Bryant.



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       36.   Mr. Bryant had multiple conversations with Betzer and Correctional

Officer Messersmith about the threats in which he requested, yet again, that they

move him to a new location.

       37.   Betzer, Messersmith, and other officers were, based on Mr. Bryant’s

complaints, aware that Mr. Bryant was at significant risk of harm and that it was

Mr. Bryant’s cellmates who posed this risk to Mr. Bryant.

       38.   Despite this knowledge, Betzer, Messersmith, and other officers

deliberately, or, at a minimum, recklessly, ignored the risk to Mr. Bryant’s safety

and refused to address his complaints and change his cell or unit assignment.

       39.   Betzer, Messersmith, and other officers were, therefore, deliberately

indifferent to a substantial risk of serious harm to Mr. Bryant in violation of Mr.

Bryant’s rights under the Eighth Amendment to the U.S. Constitution.

       40.   On September 27 around 7:15 p.m., Carlos Cunningham, one of Mr.

Bryant’s cellmates, initiated an argument with Mr. Bryant in their cell.

       41.   Fearing an attack, Mr. Bryant left the cell and stood directly in front

of the officer station in order to make any confrontation visible by prison staff.

       42.   There were, however, no officers in the officer station.

       43.   Cunningham followed Bryant to the station and attacked him using a

hard object to strike Mr. Bryant on multiple locations on his body, including his

left eye.



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       44.   Cunningham was high on K-2 at the time of the assault.

       45.   Mr. Bryant was seriously injured in the assault and required

immediate medical attention.

       46.   He bled profusely from his eye and could not see.

       47.   Prison staff brought him to the emergency room of a local hospital

around 10 p.m. that night. Mr. Bryant was diagnosed with a serious injury to his

eye.

       48.   Following this initial medical treatment, Mr. Bryant was returned to

the facility and housed in the Special Housing Unit for protection from his

cellmates.

       49.   On October 3, 2017, Betzer visited Mr. Bryant in his cell.

       50.   Upon seeing his eye, Betzer gasped and covered her mouth. She

apologized for ignoring Mr. Bryant’s requests to move cells and said that she

should have moved him.

       51.   Following the assault, Mr. Bryant received a disciplinary violation on

his prison record.

       52.   On October 30, 2017, the violation was removed from his prison

disciplinary record because officers confirmed that he was attacked as a result of

his cooperation with Officer Kohn’s investigation.




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      53.    Despite his protests, Mr. Bryant was removed from the Special

Housing Unit and returned to the same cell where he had been previously

threatened leading up to the assault.

      54.    The threats promptly resumed, and prison staff returned Mr. Bryant to

the Special Housing Unit within approximately fifteen minutes.

      55.    Bryant remained in Allenwood’s Special Housing Unit from October

30, 2017 until January 2, 2018. On that date, he was transferred to the Federal

Correctional Institution at Butner for treatment of his eye injuries at the Federal

Medical Center at Butner.

      56.    As a result of the actions and inactions of the BOP employees

described above, Mr. Bryant suffered, and continues to suffer, daily headaches and

dizziness as a result of the assault. He has a cataract in his eye and experiences

difficulty keeping his eyelid open and moving his neck. His eyesight remains

blurry, a consequence which is likely to be permanent. He also suffers from severe

emotional trauma as a result of the assault and the fact that his frequent complaints

about the danger to his safety were ignored.




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                            V. CAUSES OF ACTION

                                     Count I
                 Plaintiff v. Defendant United States of America
                      Federal Tort Claims Act – Negligence

      57.    The BOP employees referenced above, including but not limited to

Counselor D. Betzer, Correctional Officer Messersmith, and Correctional Officer

Kohn, owed a duty to plaintiff, breached their duty to plaintiff, and, as such, were

direct and proximate causes and substantial factors in bringing about plaintiff’s

damages outlined above.

      58.    The actions of the BOP employees referenced above, including but

not limited to Counselor D. Betzer, Correctional Officer Messersmith, and

Correctional Officer Kohn constitute the tort of negligence under the laws of the

Commonwealth of Pennsylvania.

      59.    Under the Federal Tort Claims Act, defendant United States of

America is liable for these actions.

                                   Count II
               Plaintiff v. Defendant United States of America
     Federal Tort Claims Act – Negligent Infliction of Emotional Distress

      60.    The BOP employees referenced above, including Counselor D.

Betzer, Correctional Officer Messersmith, and Correctional Officer Kohn, owed a

duty to plaintiff, breached that duty, and caused plaintiff to suffer severe emotional

distress, which was the direct and proximate result of their breach of duty.



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      61.    The actions of the BOP employees referenced above, including but

not limited to Counselor D. Betzer, Correctional Officer Messersmith, and

Correctional Officer Kohn constitute the tort of negligent infliction of emotional

distress under the laws of the Commonwealth of Pennsylvania.

      62.    Under the Federal Tort Claims Act, defendant United States of

America is liable for these actions.


      Wherefore, plaintiff John Bryant respectfully requests:

      A.     Compensatory damages;

      B.     Reasonable attorneys’ fees and costs;

      C.     Such other and further relief deemed just and appropriate.




                                              /s/ Jonathan H. Feinberg
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